                  Case 2:10-md-02179-CJB-SS Document 983-3 Filed 01/12/11 Page 1 of 3
                  Case 2:10-cv-08888-CJB-JCW Document 10764 Filed 03/15/11 Page 1 of 3
                                         IN RE: OIL SPILL by “Deepwater Horizon”
                                                    DIRECT FILING SHORT FORM 1
                            Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982
              (Copies of said Order having also been filed in Civil Actions No. 10-8888 and 10-2771)
MDL 2179                                                                SECTION: J                                                JUDGE CARL BARBIER
      CLAIM IN LIMITATION--JOINDER IN MASTER ANSWER--INTERVENTION AND JOINDER
               IN MASTER COMPLAINTS – PLAINTIFF/CLAIMANT PROFILE FORM                                                                                                          S
    By submitting this document, I am asserting a claim in Complaint and Petition of Triton Asset Leasing GmbH, et                                                            Sh
    al., No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
    Asset Leasing Gmbh, et al., in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
    [Rec. Doc. 879] for private economic losses (“B1 Bundle”) filed in MDL No. 2179 (10 md 2179); and/or intervene
    into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 Bundle”)
    filed in MDL No. 2179 (10 md 2179).

    Last Name                                           First Name                                   Middle Name/Maiden                            Suffix
    Le                                                  Ka

    Phone Number                                                                     E-Mail Address
    (770) 242-1390
    Address                                                                          City / State / Zip
                1411 Wood Terrace Cir                                                                     Atlanta GA 30340

    INDIVIDUAL CLAIM                                                                 BUSINESS CLAIM

    Employer Name                                                                    Business Name
                         Self-Employed                                                                    Ka
    Job Title / Description                                                          Type of Business
                               Deckhand
    Address                                                                          Address

    City / State / Zip                                                               City / State / Zip

    Last 4 digits of your Social Security Number                                     Last 4 digits of your Tax ID Number
                                                        9653                                                                   9653
    Attorney Name                                                                    Firm Name
                         Mikal C. Watts                                                            Watts Guerra Craft LLP
    Address                                                                          City / State / Zip
                         2506 N. Port Ave.                                                         Corpus Christi, TX 78401
    Phone Number                                                                     E-Mail Address
                         361-693-3100                                                              bpshortform@wgclawfirm.com

    Claim filed with BP?                                                             Claim Filed with GCCF?:         YES                   NO
                                     YES                    NO
    If yes, BP Claim No.:                                                            If yes, Claimant Identification No.:


    Claim Type (Please check all that apply):
            Damage or destruction to real or personal property                                  Fear of Future Injury and/or Medical Monitoring
            Earnings/Profit Loss                                                                Loss of Subsistence use of Natural Resources
            Personal Injury/Death                                                               Removal and/or clean-up costs
                                                                                                Other: ___________________________________________




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    This!form!should!be!filed!with!the!U.S.!District!Court!for!the!Eastern!District!of!Louisiana!in!New!Orleans,!Louisiana!in!Civil!Action!No.!10"8888.!!While!this!Direct!
Filing!Short!Form!is!to!be!filed!in!CA!No.!10"8888,!by!prior!order!of!the!Court,!(Rec.!Doc.!246,!C.A.!No.!10"2771!and!Rec.!Doc.!982!in!MDL!2179),!the!filing!of!this!form!
in!C.A.!No.!10"8888!shall!be!deemed!to!be!simultaneously!filed!in!C.A.!10"2771!and!MDL!2179.!!Plaintiff!Liaison!Counsel,!after!being!notified!electronically!by!the!Clerk!
of!Court!of!the!filing!of!this!Short!Form,!shall!promptly!serve!this!form!through!the!Lexis!Nexis!service!system!on!Defense!Liaison.!
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          The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.


                                                                                                                                                                    #265485
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                                                                                                                                                #265485
            Case 2:10-md-02179-CJB-SS Document 983-3 Filed 01/12/11 Page 2 of 3                                                                  Le, Ka
            Case 2:10-cv-08888-CJB-JCW Document 10764 Filed 03/15/11 Page 2 of 3

Brief Description:

1.   For earnings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims
     involving real estate/property, include the property location, type of property (residential/commercial), and whether physical
     damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.
As noted above, I have worked on commercial fishing, shrimping, and/or oystering fleets located in the Gulf of Mexico (“GOM”).

Because of the Deepwater Horizon explosion and resulting oil spill from the Macondo Well, I have suffered substantial

economic loss. On May 3, 2010, the National Oceanic and Atmospheric Administration (“NOAA”) began closing GOM waters to

recreational and commercial fishing. NOAA subsequently increased the size of such closures to encompass over 83,000

square miles or 35% of the GOM exclusive economic zone. Since July 22, 2010, NOAA has slowly re-opened fishing areas;

however, at this time, over 8,000 miles remain closed. Because of prohibited fishing in certain GOM waters and increased

competition in open GOM waters, my commercial fishing activities to date have been negatively affected, and my income has

likewise been negatively impacted. The exact amount of my economic loss has not yet been quantified, and will be accordingly

supplemented.



2.   For personal injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
     employers 2008 to present and complete authorization forms for each.




3.   For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
     employer, and where you were working.




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     The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.


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              Case 2:10-md-02179-CJB-SS Document 983-3 Filed 01/12/11 Page 3 of 3                                                               Le, Ka
              Case 2:10-cv-08888-CJB-JCW Document 10764 Filed 03/15/11 Page 3 of 3
Please check the box(es) below that you think apply to you and your claims:
Non-governmental Economic Loss and Property Damage Claims (Bundle B1)
     x 1.      Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fishing, shrimping,
               crabbing or oystering.

     x 2.      Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

        3.     Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
               fishing business who earn their living through the use of the Gulf of Mexico.

        4.     Commercial business, business owner, operator or worker, including commercial divers, offshore oilfield service, repair and
               supply, real estate agents, and supply companies, or an employee thereof.

        5.     Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.

     x 6.      Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.

        7      Owner, lessor, or lessee of real property alleged to be damaged, harmed or impacted, physically or economically, including
               lessees of oyster beds.

        8.     Hotel owner and operator, vacation rental owner and agent, or all those who earn their living from the tourism industry.

        9.     Bank, financial institution, or retail business that suffered losses as a result of the spill.

        10.    Person who utilizes natural resources for subsistence.

        11. Other:

Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle B3)
        1.     Boat captain or crew involved in the Vessels of Opportunity program.

        2.     Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants.

        3.     Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicals,
               odors and emissions during post-explosion clean-up activities.

        4.     Clean-up worker or beach personnel involved in clean-up activities along shorelines and intercoastal and intertidal zones.

        5.     Resident who lives or works in close proximity to coastal waters.

        6.     Other:



Both BP and the Gulf Coast Claims Facility (“GCCF”) are hereby authorized to release to the Defendants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to both
the Plaintiff (or his attorney if applicable) filing this form and PSC through Plaintiff Liaison Counsel.


 Claimant or Attorney Signature


 Mikal C. Watts
 Print Name


 3/11/2011
 Date




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    The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.


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